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         Case 1:21-cv-10529-NMG    1  Date
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                United States Court of Appeals
                                For the First Circuit
                                    _____________________
 No. 22-1052
                            SAKAB SAUDI HOLDING COMPANY,

                                       Plaintiff, Appellant,

                                                v.

  SAAD KHALID S. ALJABRI; KHALID SAAD KHALID ALJABRI; MOHAMMED SAAD
  KH ALJABRI; NEW EAST (US) INC.; NEW EAST 804 805 LLC; and NEW EAST BACK
                                  BAY LLC,

                                     Defendants, Appellees,

                                       UNITED STATES,

                                     Intervenor, Appellee.
                                     __________________

                                         JUDGMENT

                                    Entered: January 27, 2023

         This cause came on to be heard on appeal from the United States District Court for the
 District of Massachusetts and was argued by counsel.

        Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 order of the district court is affirmed. Each side shall bear its own costs.


                                                     By the Court:

                                                     Maria R. Hamilton, Clerk


 cc: Denis Michael King, Richard M. Zielinski, Douglas B. Rosner, Meaghan Christina Gragg,
 Neil J. Oxford, Samuel W. Salyer, William R. Stein, Michael Gottlieb, Marie Annie Houghton-
 Larsen, R. Robert Popeo, Ian Heath Gershengorn, Lindsay C. Harrison, Scott C. Ford, Kevin Paul
 Martin, Faith E. Gay, Caitlin J. Halligan, Jaime Ann Santos, Sharon Swingle, Lewis Yelin, Donald
 Campbell Lockhart
